                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW MEXICO
In re:

LAS UVAS VALLEY DAIRIES,
a New Mexico General Partnership

         Debtor.                                                    No. 11-17-12356-TA

                   ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

         COMES NOW Giddens & Gatton Law, P.C. (Chris M. Gatton) and hereby enters its

appearance on behalf of Phillip Mitchell, Liquidating Trustee. Counsel requests copies of all

pleadings, notices and other papers filed herein.

                                          Respectfully submitted:


                                           GIDDENS, GATTON & JACOBUS, P.C.

                                           /s/Chris M. Gatton,
                                           Submitted electronically 6.26.18
                                           10400 Academy, Suite 350
                                           Albuquerque, NM 87111
                                           Phone: (505) 271-1053
                                           Facsimile: (505) 271-4848
                                           Email: chris@giddenslaw.com
                                           Attorneys for Liquidating Trustee

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of June, 2018, I filed the foregoing pleading
electronically through the CM/ECF system, which caused all parties or counsel requesting notice
to be served by electronic means on the date of filing.

/s/Chris M. Gatton,
Submitted electronically 6.26.18




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